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 4
     Attorney for Defendant
 5   David Robbie Forkner

 6

 7                    IN THE UNITED STATES DISTRICT COURT

 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )        CR NO. S-08-363 GEB
                                   )
11             Plaintiff,          )        STIPULATION AND
                                   )        [PROPOSED] ORDER CONTINUING
12        v.                       )        STATUS CONFERENCE
                                   )
13   David Forkner and             )
     Loretta Canham,               )
14                                 )
                                   )        Date:    2/20/2009
15             Defendants.         )        Time:    9:00 a.m.
     ______________________________)        Judge:   Hon. Garland E.
16                                                   Burrell

17
          IT IS HEREBY stipulated between the United States of America
18
     through its undersigned counsel, Michael M. Beckwith, Assistant
19
     United States Attorney, together with counsel for defendant David
20
     Forkner, John R. Manning Esq., and counsel for defendant Loretta
21
     Leigh Canham, Dennis S. Waks Esq., that the status conference
22
     presently set for February 20, 2009 be continued to March 27,
23
     2009, at 9:00 a.m., thus vacating the presently set status
24
     conference.   This matter involves a     wire intercept on several
25
     telephones and related pen registers, as well as over 3000 pages
26
     of discovery.
27
          It is further stipulated that the time between February 20,
28
                                        1
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 1   2009 and March 27, 2009 can appropriately be excluded from the

 2   Speedy Trial Act pursuant to 18 USC § 3161(h)(8)(B)(ii)(Local

 3   Code T-2) and 18 USC § 3161(h)(8)(B)(iv)(Local T-4).

 4   IT IS SO STIPULATED.

 5

 6   Dated: February 19, 2009                   /s/ John R. Manning
                                              JOHN R. MANNING
 7                                            Attorney for Defendant
                                              David Robbie Forkner
 8

 9   Dated: February 19, 2009                 /s/ Dennis S. Waks
                                            DENNIS S. WAKS
10                                          Attorney for Defendant
                                            Loretta Leigh Canham
11

12
     Dated: February 19, 2009                 McGREGOR W. SCOTT
13                                            United States Attorney

14
                                        by:     /s/ Michael M. Beckwith
15                                            MICHAEL M. BECKWITH
                                              Assistant U.S. Attorney
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              Case 2:08-cr-00363-WBS Document 62 Filed 02/26/09 Page 3 of 3


 1
                        IN THE UNITED STATES DISTRICT COURT
 2
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 3

 4
     UNITED STATES OF AMERICA,       ) Case No. CR.S 08-363 GEB
 5                                   )
                     Plaintiff,      )
 6                                   )
          v.                         ) [PROPOSED] ORDER TO
 7                                   ) CONTINUE STATUS CONFERENCE
     David Forkner and               )
 8   Loretta Canham,                 )
                                     )
 9                                   )
                     Defendants.     )
10   _______________________________ )

11
            GOOD CAUSE APPEARING, it is hereby ordered that the February
12
     20, 2009 status conference be continued to March 27, 2009 at 9:00
13
     a.m.    I find that the ends of justice warrant an exclusion of
14
     time and that the defendant’s need for continuity of counsel and
15
     reasonable time for effective preparation exceeds the public
16
     interest in a trial within 70 days.         THEREFORE IT IS FURTHER
17
     ORDERED that time be excluded pursuant to 18 U.S.C. §
18
     3161(h)(8)(B)(ii)(Local Code T-2) and 18 U.S.C. §
19
     3161(h)(8)(B)(iv)(Local Code T-4) from the date of this order to
20
     March 27, 2009.
21

22
     IT IS SO ORDERED.
23
     Dated:    February 26, 2009
24

25
                                      GARLAND E. BURRELL, JR.
26                                    United States District Judge
27

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                                           3
